      Case 3:12-cr-00132-DRD             Document 1836       Filed 11/18/13   Page 1 of 2




 1                                UNITED STATES DISTRICT COURT
 2                                  DISTRICT OF PUERTO RICO

 3   UNITED STATES OF AMERICA

 4          Plaintiff,
                                                           Criminal No. 12-132 (37) (DRD)

 5          v.

 6   JOSUE D. GONZALEZ-MEDINA

 7          Defendant.




 8                   ORDER APPROVING MAGISTRATE-JUDGE’S
 9            REPORT AND RECOMMENDATION RE: RULE 11 PROCEEDINGS

10          The Court has evaluated the Magistrate-Judge’s Report and Recommendation of the Rule 11

11   proceedings regarding defendant JOSUE D. GONZALEZ-MEDINA , contained in the Report and

12   Recommendation dated July 16, 2013, Docket No. 1455.

13          The principal consideration is whether that plea was knowingly, voluntary and intelligently

14   made within the terms of Rule 11, United States v. Isom, 85 F. 3d 831, 835-837 (1 Cir. 1996). In

15   order to ascertain whether defendant made a knowingly, voluntary and intelligent plea, the Court of

16   Appeals of the First Circuit has identified three core concerns: absence of coercion, defendant’s

17   understanding of the charges and the defendant’s knowledge of the consequences of the guilty plea.

18   United States v. Gray, 63 F. 3d 60-61, (1st Cir. 1995), United States v. Cotal Crespo, 47 F. 3d 1, 4

19   (1st Cir.) cert. denied 516 U.S. 827, 116 S. Ct. 94 (1995).

20          The Court in examining the three core concerns must “review the totality of the

21   circumstances surrounding the Rule 11 hearing, rather than apply a ‘talismatic test’,” United States

22   v. Cotal Crespo, 47 F. 3d at 4-5.
23
 Case 3:12-cr-00132-DRD          Document 1836           Filed 11/18/13   Page 2 of 2




       The Court having examined the Report and Recommendation of the Magistrate Judge finds

that the plea was knowingly, voluntary and intelligent as understood in the terms of Rule 11. The

plea of defendant JOSUE D. GONZALEZ-MEDINA, is therefore, accepted and the defendant is

adjudged guilty as to Count One (1) of the Indictment.

       IT IS SO ORDERED.

       At San Juan, Puerto Rico, this 18th day of November, 2013.



                                                    S/ DANIEL R. DOMÍNGUEZ
                                                    DANIEL R. DOMÍNGUEZ
                                                    U.S. DISTRICT JUDGE
